             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:13-cv-00231-MR
             [CRIMINAL CASE NO. 1:07-cr-00033-MR-6]


CURTIS JEROME LYTLE,             )
                                 )
              Petitioner,        )
                                 )
vs.                              )             MEMORANDUM OF
                                 )             DECISION AND ORDER
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

     THIS MATTER is before the Court on Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1].

                       FACTUAL BACKGROUND

       On December 8, 2010, Petitioner pled guilty to conspiracy to

possess with intent to distribute cocaine base, in violation of 21 U.S.C. §§

846 and 841(a)(1).    [Criminal Case No. 1:07-cr-00033-MR-6, Doc. 382:

Acceptance and Entry of Guilty Plea].       On July 6, 2011, this Court

sentenced Petitioner to 144 months of imprisonment.             [Id., Doc. 393:

Judgment].   Petitioner appealed, and on February 2, 2012, the Fourth

Circuit Court of Appeals affirmed and in an unpublished decision dismissed



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the appeal in part. United States v. Lytle, 463 F. App’x 196 (4th Cir. 2012).

The Fourth Circuit’s mandate issued on February 24, 2012. [See Criminal

Case No. 1:07cr33-6, Doc. 432: Mandate]. Petitioner did not file a motion

for writ of certiorari with the Supreme Court.

      By letter dated January 21, 2013, Petitioner filed a motion to extend

the time to file a Section 2255 petition in this Court, which motion this Court

denied on March 5, 2013. [Id., Docs. 472, 473]. The Court noted in the

Order that the motion was moot because Petitioner’s conviction became

final on May 25, 2012,1 and the one-year limitations period for filing the

petition had not yet run. As such, Petitioner was directly informed by the

Court of the deadline for filing a §2255 petition. Petitioner, however, did not

file before that deadline. On August 8, 2013, Petitioner placed the Section

2255 petition in the prison system for mailing, and the petition was stamp-

filed in this Court on August 16, 2013. [See Doc. 1 at 13]. Petitioner

asserts numerous claims of ineffective assistance of trial and appellate

counsel.

                            STANDARD OF REVIEW

      Pursuant to Rule 4(b) of the Rules Governing Section 2255


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   The one-year period began to run when Petitioner’s deadline for filing a petition for
certiorari with the United States Supreme Court expired without the Petitioner having
filed such petition.
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Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

no response is necessary from the United States. Further, the Court finds

that this matter can be resolved without an evidentiary hearing.             See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

                                DISCUSSION

      In 1996, Congress enacted the Antiterrorism and Effective Death

Penalty Act (the “AEDPA”). Among other things, the AEDPA amended 28

U.S.C. § 2255 by imposing a one-year statute of limitations period for the

filing of a motion to vacate. Such amendment provides:

      A 1-year period of limitation shall apply to a motion under this section.

The limitation period shall run from the latest of-

      (1) the date on which the judgment of conviction becomes final;

      (2) the date on which the impediment to making a motion
      created by governmental action in violation of the Constitution
      or laws of the United States is removed, if the movant was
      prevented from making a motion by such governmental action;

      (3) the date on which the right asserted was initially recognized
      by the Supreme Court and made retroactively applicable to
      cases on collateral review; or

      (4) the date on which the facts supporting the claim or claims
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      presented could have been discovered through the exercise of
      due diligence.

28 U.S.C. § 2255(f).

      Here, the Fourth Circuit’s mandate issued on February 24, 2012.

[See Criminal Case No. 1:07cr00033-6, Doc. 432: Mandate]. Petitioner did

not file a motion for writ of certiorari with the Supreme Court.           Thus,

Petitioner’s conviction became final 90 days after February 24, 2012. See

Clay v. United States, 537 U.S. 522, 525 (2003) (holding that state

judgment becomes final for habeas purposes when the time expires for

filing a petition for writ of certiorari to the Supreme Court or ninety days

following the decision of the state's highest court). Petitioner did not file his

Section 2255 motion to vacate until August 8, 2013. Thus, the petition is

untimely.

      In Section 18 of the petition regarding timeliness, Petitioner asserts

that equitable tolling is appropriate because he did not receive his case

files from his attorney until December 2012. Petitioner contends that “[b]ut

for appellate counsel’s extreme delay, I did not have equitable opportunity

to submit the best possible case.” [Doc. 1 at 20]. Petitioner further states

that “[a]fter reviewing all of the material appellate counsel sent I realized I

do not have the legal expertise needed to pursue an effective 2255 motion.

This was also detrimental to my motion because it did not allow me enough
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time to explore different options to seek legal counsel, not to mention the

possible repercussions of a timely issue.” [Id.].2

      To be entitled to equitable tolling, Petitioner must show (1) that he

has diligently pursued his rights and (2) that some extraordinary

circumstance prevented the timely filing. United States v. Oriakhi, 394 F.

App’x 976, 977 (4th Cir. 2010).            Petitioner has not provided sufficient

grounds for equitable tolling. As noted, on January 21, 2013, Petitioner

filed a motion for an extension of time to file his petition, believing that the

deadline for filing the petition was February 1, 2013. [See Criminal Case

No. 1:07cr33-6, Doc. 472]. In its Order denying the motion as moot, this

Court stated that the statute of limitations had not run, as Petitioner’s

conviction did not become final until May 25, 2012. [See id., Doc. 473].

Petitioner did not file the instant petition until August 8, 2013. Therefore,

Petitioner had not shown that he was diligent in filing the petition, nor has

he shown that extraordinary circumstances prevented timely filing of the

petition. That is, even assuming that counsel did not send Petitioner his

case files until December 2012, Petitioner waited more than eight months

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  Based on Petitioner's discussion of timeliness, the Court finds that the rule articulated
in Hill v. Braxton, 277 F.3d 701 (4th Cir. 2002), has been satisfied. In Hill, the Fourth
Circuit found that district courts are required to advise a pro se petitioner that his
habeas motion or petition is subject to dismissal as time-barred under the AEDPA, and
to give petitioner an opportunity to explain his delay before entering a sua sponte
dismissal of the case. Id. at 706.


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to file his petition. Accord Williams v. Clark, No. CV-07-1582-AHM (PLA),

2008 WL 474343, at *5 (C.D. Cal. Jan. 3, 2008) (“To the extent that

petitioner is claiming that he is entitled to equitable tolling based on the

failure of either his trial counsel or his appellate counsel to provide him with

his files and records, petitioner’s allegations do not warrant equitable

tolling.”).    In sum, Petitioner has not shown that equitable tolling is

appropriate in this case. Accordingly, the Court will dismiss the petition as

untimely.

       Finally, the Court finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85

(2000).       Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that his Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484-85 (2000). As a result, the Court declines to

issue a certificate of appealability.       See Rule 11(a), Rules Governing




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Section 2255 Proceedings for the United States District Courts, 28 U.S.C. §

2255.

                                 ORDER

        IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DENIED and DISMISSED WITH PREJUDICE as untimely. The

Clerk is directed to terminate the case.

        IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

          IT IS SO ORDERED.
                                    Signed: November 7, 2013




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